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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




FEDERAL TRADE COMMISSION,

STATE OF ILLINOIS, and                        Case No. 1:25-cv-02391
STATE OF MINNESOTA,

              Plaintiffs,                     Hon. Jeffrey I. Cummings

              v.

GTCR, LLC,

GTCR BC HOLDINGS, LLC, and

SURMODICS, INC.,

              Defendants.



                                 AMENDED SCHEDULE



                     Event                                             Date

Discovery Commences                               March 18, 2025

Defendants’ Answer to Plaintiff’s Complaint       March 27, 2025

Exchange of Preliminary Fact Witness Lists        April 15, 2025

Plaintiffs’ Amended Complaint                     April 16, 2025

Deadline for Serving Document Requests to
Parties                                           April 29, 2025

Deadline for Serving Interrogatories and
Requests for Admission (except Requests for       April 29, 2025
Admission for Authentication/Admissibility)
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                      Event                                             Date

Deadline for Defendants GTCR BC Holdings,
LLC and Surmodics, Inc. to respond to Plaintiffs’ April 30, 2025
Amended Complaint

Deadline for Defendant GTCR LLC to respond to
Plaintiffs’ Amended Complaint                 June 16, 2025

Close of Fact Discovery                            July 10, 2025

Plaintiff produces initial expert report(s)        July 11, 2025

Plaintiffs’ Memorandum of Law in Support of
Preliminary Injunction Motion                      July 14, 2025

Deadline to Serve Requests for Admission for
Authentication/Admissibility                       July 24, 2025

Defendants produce expert report(s)                July 29, 2025

Defendants’ Opposition to Plaintiff’s Motion for
Preliminary Injunction                             July 31, 2025

Exchange of Final Witness Lists                    August 1, 2025

Exchange of Exhibit Lists                          August 1, 2025

Plaintiff produces rebuttal expert reports         August 8, 2025

Motions In Limine                                  August 5, 2025

In camera designations                             By the date set in the pre-hearing order

Objections to Exhibits                             August 11, 2025

Close of Expert Discovery                          August 11, 2025

Plaintiffs’ Reply to Defendants’ Opposition to     August 12, 2025
Preliminary Injunction Motion

Responses to Motions In Limine                     August 12, 2025
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                      Event                                    Date

Deadline for any challenges to in camera   By the date set in the pre-hearing order
designations

Pre-Hearing Conference                     August 19, 2025 at 1:00 p.m.

                                           August 21-August 29, 2025
Evidentiary Hearing


   Date: July 10, 2025




                                                _________________________________
                                                HON. JEFFREY I. CUMMINGS
                                                United States District Judge
